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FH.ED BY w C/L>_¢_
IN THE UNITED STATES DIsTRICT COURT -

FOR THE wEsTERN DISTRICT OF TENNESSEE@ _
wEsTERN DIVISION SJUL 22 PH |‘ 59

 

UNITED STATES OF AMERICA

Plaintiff,

2
Criminal No?F - ¢[$;_ Ml

`»» 30-Da Continuance
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Defendant($).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at §igg
a.m. on Fridav, August 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22nd day of July, 2005.

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SO ORDERED this 22nd day Of July, 2005.

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JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

Assistant United States Atz?rney

 

 

 

 

Counsel for Defendant(s)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20155 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

